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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

SUBGE Amy ST. EVE

QE GRO wcs

Violations: Title 18,

United States Code, |
Sections 371 and 2319(c)(1); 2
and Title 17, United States Code,

Sections 506(a)(2),

1201(a)(1)(A) and (a)(2)(A),

and 1204(a)(1)

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JAN & 1 2006

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MICHAEL W. DOBBINS
CLERK; U:8: BIBTAMOT GOURT

UNITED STATES OF AMERICA
Vv.

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)
SEAN PATRICK O’TOOLE, )
also known as “chucky,” )
VAHID PAZIRANDEH, )
also known as “vman,” )
LINDA WALDRON, . )
also known as “bajantara,” )
PAUL YAU, )
also known as “ann,” )
SANDY FURY, )
also known as “asylum,” )
MARC BARTEL, }
also known as “biosprint,” )
TU NGUYEN, )
also known as “dray,” )
RICHARD BALTER, )
also known as “ducky,” )
DANNY LEE, )
also known as “messy,” )
PETER ANDREW HOLLAND, )
also known as “thebinary,” )
JASON DOBYNS, )
also known as “supafly,” }
DAVID LEWIS, )
also known as “keymaster,” )
MATTHEW CITTELL, }
also known as “keymaster,” )
MATTHEW PLOESSEL, )
also known as “kkits” and “stikk,” )
JOSEPH TOLAND, )
also known as “anim8,” )
FRED AMAYA, }
also known as “audiovox,” )
LANCE WARNER, )
also known as “transform,” )
GREGG PIECYHNA, )
JEREMIAH STEVENS, }
also known as ““mort* )

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COUNT ONE
The SPECIAL FEBRUARY 2005-1 GRAND JURY charges:
1. Beginning at a time unknown, but not later than in or about 1998, and

continuing thereafter up to and including on or about June 29, 2005, in the Northern District

of Illinois, Eastern Division, and elsewhere,

SEAN PATRICK O’TOOLE,
also known as “chucky,
VAHID PAZIRANDEH,
also known as “vman,”
LINDA WALDRON,
also known as “bajantara,”
PAUL YAU,
also known as “ann,”
SANDY FURY,
also known as “asylum,”
MARC BARTEL,
also known as “biosprint,”
TU NGUYEN,
also known as “dray,”
RICHARD BALTER,
also known as “ducky,”
DANNY LEE,
also known as “messy,”
PETER ANDREW HOLLAND,
also known as “thebinary,”
JASON DOBYNS,
also known as “supafly”
DAVID LEWIS,
also known as “keymaster”
MATTHEW CITTELL,
also known as “keymaster”
MATTHEW PLOESSEL,
also known as “kkits” and “stikk,”
JOSEPH TOLAND,
also known as “anim8,”

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FRED AMAYA,
also known as “audiovox,”
LANCE WARNER,
also known as “transform,”
GREGG PIECYHNA,
JEREMIAH STEVENS,
also known as ““mort*,

defendants herein, did knowingly conspire and agree with each other and with others known

and unknown to the Grand Jury to commit offenses against the United States, that is:

a.

Willfully infringing a copyright by reproducing and distributing at least
ten infringing copies of one or more copyrighted works, with a total
retail value of more than $2,500, during a 180-day period, in violation
of Title 17, United States Code, Section 506(a)(2), and Title 18, United
States Code, Section 2319(c)(1);

Circumventing a technological measure that protects a copyright work,
by willfully, and for purposes of private financial gain, circumventing
a technological measure that effectively controls access to a work
protected under Title 17 of the United States Code, in violation of Title
17, United States Code, Sections1201(a)(1)(A), and 1204(a)(1); and

Trafficking in a technology, product, service, and device, by willfully,
and for purposes of private financial gain, knowing that the technology,
product, service, and device was primarily designed and produced for
the purpose of circumventing a technological measure that effectively
controlled access to a copyrighted work, in violation of Title 17, United
States Code, Sections 1201(a)(2)(A), and 1204(a)(1).

RISCISO

2. It was part of the conspiracy that defendants were leaders, members, and

associates of the software piracy group known as “RISCISO.” “RISC” was an acronym for

Rise in Superior Couriering, while “ISO” referred to a file format commonly used for the

storage and transfer of pirated software. RISCISO was an underground organization,

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founded in approximately 1993, dedicated to the illegal distribution of large volumes of
copyrighted software, games, and movies over the Internet, particularly recently released
items, for the use and benefit of members and affiliates of RISCISO, and of persons to whom
RISCISO members and affiliates further distributed those items.

3. It was further part of the conspiracy that in exchange for their contributions to
RISCISO’s unlawful objectives, members of the conspiracy received access through the
Internet to computers that stored extensive libraries of illegally copied copyrighted software,
games, and movies. (Computers used to maintain these libraries were referred to as “warez
sites” or “warez servers”.) RISCISO members set up computer servers that hosted warez
sites used to store and distribute copyrighted software, movies, and games. Some members
of the conspiracy devoted substantial time and resources to RISCISO-related activities.

4. It was further part of the conspiracy that through the RISCISO servers, the
conspirators obtained, and made available to others associated with RISCISO, unauthorized
copies of copyrighted works, including software, movies, and games; moreover, the
conspirators did not own the copyrighted works uploaded and downloaded on the RISCISO
servers; and did not have the license, permission, or other authority from the owners of those

copyrighted works to reproduce and distribute them or to make them available for

downloading from RISCISO’s servers.

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The Defendants and Their Association With RISCISO

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5. The following defendants were associated with RISCISO in the following
ways:

a. Defendant SEAN PATRICK O’TOOLE (also known as “chucky), a
resident of Perth, Australia, was the defacto leader of RISCISO, and set policy for the group,
decided who had access to the servers, and uploaded copyrighted material onto the warez
servers from remote sites he personally controlled.

b. VAHID PAZIRANDEH (also known as “vman”), a resident of San
Diego, California, was formerly employed at an university in a technical area, held a
leadership role in RISCISO and served as a site operator responsible for establishing,
maintaining, administering, and supporting many of the group’s warez servers. He also
supplied hardware used in the warez servers.

c. LINDA WALDRON (also known as “bajantara’”’), a resident of the
island of Barbados and employed as a broadcaster for a Barbados broadcast company, was 7
a long-time member of RISCISO who assisted defendant O’TOOLE in communicating with
other group members, was responsible for locating new sites that could host the group’s
warez servers, and was instrumental in recruiting new members to RISCISO.

d. PAUL YAU (also known as “ann”), a resident of Houston, Texas, was

employed as a systems administrator for an Internet service provider, and was a site operator

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for RISCISO responsible for maintaining, administering, and supporting at least one of the
group’s warez servers.

e. SANDY FURY {also known as “asylum”), a resident of West
Hollywood, California, and employed in the computer security industry, was a long-time
member of RISCISO.

f. MARC BARTEL (also known as “biosprint”), a resident of Overland
Park, Kansas, and employed as an information technology manager for a law firm, was a
long-time member of RISCISO, and was a site operator for RISCISO responsible for
maintaining, administering, and supporting at least one of the group’s warez servers.

g. TU NGUYEN (also known as “dray”), a resident of Chicago, Illinois,
and employed as a software consultant and working on his doctorate in mathematics, was a
member of RISCISO.

h. RICHARD BALTER (also known as “ducky”), a resident of Middle
Island, New York, was a long-time member of RISCISO and received hardware from other
members who provided hardware to be used to set up the group’s warez servers. He also
supplied hard drives for use in the warez server on at least one occasion.

i. DANNY LEE (also known as “messy”), a resident of Rosemead,

California, and self-employed as a web developer, was a member of RISCISO.

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j. PETER ANDREW HOLLAND (also known as “thebinary”), a resident
of Middleton, Ohio, and a sophomore in college, was recruited to become a member of
RISCISO by defendant WALDRON.

k. JASON DOBYNS (also known as “supafly”), a resident of Tustin,
California, and employed as a systems administrator for an Internet provider, was a member
of RISCISO who allowed other RISCISO members to utilize hard drive space on his
employer’s servers to distribute copyrighted material.

1. DAVID LEWIS (also known as “keymaster”), a resident of Costa Mesa,
California, and employed as an IT administrator at an architectural firm, had the role of
“tester” for RISCISO, in which he was responsible for testing software applications to
determine whether the copyright protective mechanisms had been bypassed before they were
uploaded to the warez servers. He allowed defendant MATTHEW CITTELL to also access
the RISCISO server using the “keymaster” user name.

m. MATTHEWCITTELL (also knownas “keymaster”), a resident of Costa
Mesa, California, and employed as a technical support specialist at a marketing company,
was a member of RISCISO where he utilized defendant LEWIS’ alias to access the group’s
warez server.

n. MATTHEW PLOESSEL (also known as “kkits” and “stikk’’), aresident

of Seattle, Washington, and an owner of a computer security consulting business, was a site

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operator for RISCISO responsible for maintaining, administering, and supporting at least one
of the group’s warez servers.

0. JOSEPH TOLAND (also known as “anim8”’), a resident of Rochester
Hills, Michigan, and employed as an information technology director for a
telecommunications company, was a RISCISO member who supplied the group with
copyrighted software for unauthorized distribution via the group warez servers.

p. FRED AMAYA (also known as “audiovox”), a resident of Chino Hills,
California, and employed as data entry technician for a county government office, was a site
operator for RISCISO responsible for maintaining, administering, and supporting at least one
of the group’s warez servers. He also supplied hard drives and other hardware to be used in
RISCISO’s warez servers.

q. LANCE WARNER (also known as “transform”), a resident of Portola
Hills, California, and employed in the information technology department for a national title
company, was a long-time member of RISCISO.

r. GREGG PIECYHNA, a resident of New York City, New York, was a
long-time member of RISCISO who had high-level access to RISCISO’s warez servers and
their contents.

S. JEREMIAH STEVENS (also known as ““mort*), a resident of Jasper,
Indiana, and employed by a government contractor providing computer-related services to

the United States Navy, was a long-time member of RISCISO.

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RISCISO’s Warez Sites: “RM1” and “RM2”

6. It was part of the conspiracy that RISCISO members set up computer servers
to store and distribute copyrighted software, movies, and games. In approximately 1998,
defendant MARC BARTEL and other RISCISO members surreptitiously set up a warez
server named “RM1” at the offices of a telecommunications company in Kansas to conduct
RISCISO’s activities (hereafter referred to as “the Kansas RMI server”). After a few years
of use, this server was taken down.

7. In approximately 2002, defendants SEAN PATRICK O’TOOLE, VAHID
PAZIRANDEH, MATTHEW PLOESSEL, and other RISCISO members set up another
warez server named “RM1” at a large commercial data center in Los Angeles, California
(hereafter referred to as “the Los Angeles RM! server”). RISCISO members obtained the
hardware components necessary to operate the server and allocated space for it at the data
center’s computer facility. RISCISO gained access to this data center through defendant
PLOESSEL, who used the data center as the physical location for housing the computer
servers associated with his web hosting business, Defendants O’ TOOLE, PAZIRANDEH,
PLOESSEL, and the other RISCISO members who helped set up this warez server received
accounts on the server and were allowed to download copyrighted content from it.

8, It was further part of the conspiracy that RISCISO members set up a server in

or about July 2003 that was initially named “RM2” to supplement the Los Angeles RM1

server. This server was set up and administered by defendants SEAN PATRICK O’TOOLE,

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VAHID PAZIRANDEH and other RISCISO members. Defendant PAUL YAU hosted this
server at an Internet Service Provider hosting facility in Houston, Texas, where he worked,
set up the hard drives on this server to hold the copyrighted material, and installed the
operating system on the server. Once the Los Angeles RM1 server went offline, however,
the server in Houston was renamed “RMI” (hereafter referred to as “the Houston RM1
server’).

9. It was further part of the conspiracy that, in or about December 2003, RISCISO
members started using a new server, which was given the name “RM2”, to run concurrently
with the Houston RM1 server. This RM2 server was administered by defendant VAHID
PAZIRANDEH, who provided some of the hardware components that were needed to
operate RM2 from hardware originally used in the Los Angeles RMI server, configured the
server and the hard drive file system, and installed the software necessary to operate and
protect the server from detection, including the operating system, the software firewall, and
encryption programs. Unbeknownst to the members of the conspiracy, however, the
computer hosting the RM2 server was maintained by a cooperatin g witness (“CW”) who was
assisting the government in its investigation of RISCISO. This CW had been given physical
and root access to the RM2 server by defendant SEAN PATRICK O’TOOLE. At various
times during its period of operation, defendant VAHID PAZIRANDEH also played a role
in the operation of the RM2 server. In or about the end of 2004, the Houston RM1 server

started experiencing technical difficulties and finally went offline in or about April 2005.

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As a result, the RM2 server became RISCISO’s main server for storing and distributing
copyrighted software, movies, and games.

10. ‘It was further part of the conspiracy that members of RISCISO obtained
computer hardware for use by RISCISO in conjunction with the operation of their warez
servers. On or about September 25, 2003, defendant VAHID PAZIRANDEH sent a
computer server and seventeen computer hard drives via Federal Express to the CW, which
were represented to the CW as the components from RISCISO’s Los Angeles RM1 server.
These components were used to build the RM2 server. On or about March 17, 2004, and
June 9, 2004, defendant FRED AMAYA sent via United Parcel Service to the CW for use
in the RM2 server, respectively, three SATA hard disk drives and a SATA Raid Controller

card.

Security Measures

11. ‘It was further part of the conspiracy that the defendants and other members of
RISCISO employed sophisticated security measures to conceal their activities,
communications, and identities from law enforcement, and to ensure that only persons
authorized by the leaders of RISCISO could gain access to the millions of dollars worth of
software, movies, and games stored on RISCISO’s servers. Security measures employed by
members of the conspiracy included the following, among others:

a. Carefully screening persons to be given membership in RISCISO and

access to its warez sites, for the purpose of ensuring that those admitted were committed to

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software piracy, would benefit the organization, and were not affiliated with law
enforcement;

b. Limiting access to RISCISO’s warez sites to authorized users entering
the site through known Internet Protocol (“IP”) addresses with pre-established IDs and
passwords;

c. Using “port bouncers” to disguise the true IP addresses of the computers
on which they communicated and on which their warez sites were located;

d. Using “drop sites” for the receipt of new software, movies, and games
by members of the RISCISO group. Drop sites were computers, ordinarily located outside
the United States and not easily associated with individual RISCISO members, where new
items were uploaded so that members of the group could strip them of their copyright
protection controls (including technological measures designed to protect the copyrighted
works), and other security and identification controls (including serial numbers, tags,
duplication controls, and security locks) before the pirated materials were made available for
downloading on RISCISO’s servers;

€. Using private, invitation-only, password-protected Internet Relay Chat
(“TRC”) channels to communicate regarding the affairs of the conspiracy, and conducting
those communications using screen names, rather than true names;

f. Using encryption to protect stored files; and

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g. Using encryption to disguise what files were being requested for

downloading by members in the IRC channel.

Communication Channels

12. It was further part of the conspiracy that the RISCISO leadership, RISCISO
members, and users of RISCISO-affiliated warez sites communicated with each other on
private Internet Relay Chat (“IRC”) channels, such as #risciso, #dvdiso, and others.
Defendants also made encrypted queries of the RISCISO server for particular files in the IRC
channel at the same time they participated in conversations. Defendants also communicated
with one another via direct IRC communication. In their various IRC channels and
communications, defendants and other conspirators discussed, in real time, the activities of
RISCISO, the invitation of new members to the group, the introduction of new users and
software piracy groups to RISCISO-affiliated warez sites, and affiliation by RISCISO with
other warez sites. IRC channels were also used by the leaders of RISCISO to encourage and
organize its members in distributing copyrighted software and finding additional resources
to do so. RISCISO members held group meetings in the IRC channel Hrisciso to discuss
these matters. Defendant SEAN PATRICK O’TOOLE typically led these meetings and set

the agenda for them.

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Copyrighted Movies. Games and Software

13, It was further part of the conspiracy that defendants created a directory of the
software, movies, and games available on RM2 that could be viewed by each user who
logged on to RM2. During its period of operation, thousands of copyrighted computer
software programs, games, and movies were made available for downloading on the RM2
server, in violation of those copyrights. The types of copyrighted software made available
on the site included, among others: operating systems; utilities; applications such as word
processing programs, data analysis programs, spreadsheets, communications programs,
graphics, and desktop publishing programs; and games that could be played on computers
and on stand-alone video gaming consoles such as Xbox or the Sony Playstation2.

14. ‘It was further part of the conspiracy that during the time that RM2 was in
operation, RISCISO members who were allowed access to RM2 by defendants SEAN
PATRICK O’TOOLE and VAHID PAZIRANDEH and others, uploaded and downloaded
approximately 19 terabytes of software, games, movies, and other files to and from the RM2
server. During the 180-day period ending on or about April 24, 2005, the copyrighted
content uploaded to or downloaded on the RM2 server included, among others: software such
as Ulead Picture Show 3 Deluxe, Microsoft Windows XP Media Center Edition 2005,
Microsoft Streets and Trips 2005, Cakewalk Sonar4 Producer, Ahead Nero Burning Rom
Version 6.6 Ultra Edition, Autodesk Mechanical Desktop Version 2006, Windows XP Pro

64-bit, Intel Fortran Compiler Version 8.1, Husqvarna Viking 3D Embroidery System,

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Hewlett-Packard Openview Network Node Manager Version 7.5, Roxio Easy Media Creator
Version 7.5 and Windows Server 2003 Enterprise VL Edition; movies such as Sideways, The
Pacifier, The Aviator, Closer, The Incredibles, Meet the Fockers, Hostage, Vanity Fair,
Oceans 12, Spanglish, Shark Tale, Alexander, The Phantom of the Opera, Sin City, Flight
of Phoenix, Collateral, and Robots: and games such as Tiger Woods PGA Tour 2005, Half
Life 2, Tony Hawk’s Underground 2, Tribes Vengeance, Super Streetfighter II], NASCAR
Simracing, and WW II Sniper. The total retail value of the software, movies, and games
available for downloading on the RM2 server during its period of operation exceeded $6.5
million.

Trafficking in Tools for Circumyenting Copyright Protection

15. It was further part of the conspiracy that at times RISCISO members trafficked
in tools which were primarily designed and produced for the purpose of circumventing the
access control and copy prevention systems embedded on digital copies of copyrighted
works, Manufacturers of copyrighted software, movies, and games at times use various
measures to protect against unauthorized use and copying of their products. At times
software manufacturers make available evaluation or “trial” versions of software applications
that are programmed to expire after a certain time, or that have been programmed to make
unavailable certain functions in the software; in addition, at times software manufacturers
use mechanisms to block unauthorized copying of the software. RISCISO members at times

identified, obtained, and tested tools to defeat these protective measures. These tools

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included “keygens” (small software applications that generated licensing keys when
executed), “serials” (licensing or product keys that could enable a software’s functions), and
“cracks” (small applications that disabled the copyright protection of software). The
keygens, serials, and cracks that were found to successfully circumvent the manufacturer’s
protective measures by enabling trial versions to function beyond the expiration of the “trial”
period, or allowing users full access to software for which no licensing fee had been paid,
at times were placed into a directory on the RM2 server and at times were posted in
RISCISO’s IRC channel for distribution to members. The RISCISO IRC channels were used
by members to place requests for specific serials that would allow requesting members to
bypass the copyright protection of certain software without paying a licensing fee.

16. It was further part of the conspiracy that the tools placed on the RISCISO
warez sites and used by RISCISO members to circumvent measures designed to limit access
to certain software applications included, but were not limited to, keygens for the following
software applications: (a) FaceMorpher v. 1.5; (b) ScriptF TP v. 1.4; (c) Backup to DVD CD
v.35. 1.138; (d)} First.Alert Service Monitor.v9.76.01; (e) NoClone Enterprise Edition.v3. 1.204;
(f) WorldTV.v7.1; and (g) ISOBuster.Pro.v1.8.0.4.

OVERT ACTS

17. ‘In furtherance of the conspiracy and to accomplish its unlawful objectives, the

defendants committed and caused to be committed the following overt acts, in the Northern

District of Illinois and elsewhere:

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Downloading of Files

a. On or about the following dates, the following defendants logged in — |
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under their RISCISO alias or RISCISO-authorized IP address to access RM2 to download

the following copyrighted works:

Defendant Name Alias/IP Download Date and File

O’ TOOLE chucky April 11, 2005, Autodesk Inventor Series v. 10

WALDRON bajantara March 23, 2005, Curious Software Worldmaps v. 5.5

PAZIRANDEH vman October 17, 2004, “Wicker Park”

YAU ann March 18, 2005, Autodesk AutoCAD v. 2006

FURY asylum April 16, 2005, Intel Fortran Compiler v. 8.1

BARTEL biosprint April 9, 2005, Transmagic v. 2005 SP4

NGUYEN dray February 11, 2005, PTC Pro Engineer Wildfire v. 2.0

BALTER ducky March 12, 2005, DVD Authoring With Sony DVD
Architect 2.0

LEE messy March 20, 2005, Avid Xpress Pro HD v. 5 04

HOLLAND thebinary April 8, 2005, Windows Server 2003 32Bit Enterprise

DOBYNS supafly January 8, 2005, Half-Life

LEWIS keymaster April 11, 2005, Autodesk Map 3D v. 2006

CITTELL keymaster March 25, 2005, Autodesk AutoCAD Electrical v. 2006

PLOESSEL kkits February 8, 2005, Shade v. 7.2.1 Professional

WARNER transform October 18, 2004, CheckPoint VPN-1 SecuRemote/Secure
Client

PIECYHNA 66.108.182.37 fet 3, 2005, MS Visual Studio NET 2003 Enterprise
Architect

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IRC Conversations

b. On or about January 13, 2004, defendant J EREMIAH STEVENS
participated in a conversation in the IRC channel #risciso in which he requested a “serial”
so he could access “Neverwinter Nights” (a computer game). Fellow RISCISO member
“mReD” subsequently provided STEVENS with the serial number for this software program,
as well as two other software programs.

c. On or about June 29, 2004, defendant DANNY LEE participated in a
conversation in the IRC channel #risciso in which he requested that other members provide
him with a software program entitled Final Draft V. 7.0, a script writing software application
for theater, movies and television.

d. On or about July 25, 2004, defendant FRED AMAYA participated in
a conversation in the IRC channel #risciso in which he requested that a copy of the movie
“The Bourne Conspiracy” be uploaded to the RM2 server.

e. On or about July 24, 2004, defendant MARC BARTEL participated in
a conversation in the IRC channel #risciso in which he informed the group that he was being
“locked out” of two of the subdirectories of the RM2 server, “SVCD” and “SVCD2”, that
contained copyrighted content, and sought assistance to regain access.

f. On or about August 24, 2004, defendant SANDY FURY and
RISCISO’s leader, defendant SEAN PATRICK O’TOOLE, discussed the warez group’s

security policies in the IRC channel #risciso, including how to structure a more secure

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password system and ensure that persons invited into RISCISO did not steal warez content
to start up their own warez sites.

g. On or about September 6, 2004, defendant TU NGUYEN participated
im a conversation in a RISCISO IRC channel during the course of which he made an
encrypted query of the RISCISO server for any items with the word “canopus” (the name of
a software manufacturer) in their titles.

h. On or about December 8, 2004, defendants SEAN PATRICK
O’TOOLE, JEREMIAH STEVENS, SANDY FURY, and other RISCISO members, held a
group meeting in the IRC channel #risciso in which they discussed how to recruit additional
members to the group, specifically those with the ability to “crack software” (that is,
circumvent software copyright protection) or supply software to the server, and the adequacy
of existing security measures used to disguise the identities of those accessing the warez
server. Defendant STEVENS advocated that RISCISO not use a directory list to document
members’ roles so as to prevent law enforcement from learning .what functions members
performed in the group. Defendant STEVENS also warned RISCISO members not to
include lines inside a cracked program identifying the person who had actually supplied it,
in order to avoid disclosing the suppliers’ identities to law enforcement.

i, On or about January 5, 2005, defendant JOSEPH TOLAND participated
in a conversation in the IRC channel #risciso with fellow RISCISO members and asked why

there were no new applications being uploaded to the RM2 server.

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j. On or about January 5, 2005, during a conversation in the IRC channel
#risciso, defendant MATTHEW PLOESSEL volunteered to host a server for RISCISO.

k, On or about January 10, 2005, defendant PETER ANDREW
HOLLAND participated in a conversation in the IRC channel #risciso with fellow RISICSO
members and asked if anyone else was getting errors when they went into certain directories
on RM2 like “tv” or “apps.”

1. On or about January 11, 2005, defendant DAVID LEWIS asked the
RISCISO members in the IRC channel #risciso for computer software capable of erasing data

from hard drives.

m., On or about January 11, 2005, defendant VAHID PAZIRANDEH
instructed the CW on how best to configure some additional SATA hard drives with the RM2
server and also confirmed that he had spoken with RISCISO’s leader, defendant SEAN
PATRICK O’TOOLE, regarding this matter.

n. On or about January 15, 2005, defendant LINDA WALDRON
participated in a conversation in the IRC channel #risciso with fellow RISCISO members and
asked if the group could spare room on the server for a request directory, which could be
used to make requests to the group's membership for uploading copyrighted materials to the

SeTVET.

Oo. On or about January 15, 2005, defendant VAHID PAZIRANDEH and

defendant RICHARD BALTER, and other members of RISCISO, discussed in the IRC

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channel #risciso some technical problems they were experiencing with the RM1 and RM2
warez servers.

_ p. On or about January 19, 2005, defendant RICHARD BALTER made
an encrypted query in the IRC channel #risciso for the availability of various copyrighted
movies and games on the RM2 server, including the movies “Punisher” and “Airborne.”

q. On or about January 26, 2005, defendant SANDY FURY made an
encrypted query of the RM2 main server for the copyrighted program “WinZip” to which the
server responded affirmatively indicating it had copy of the program and the accompanying

software key, also known as a “serial.”

r. On or about January 27, 2005, defendant MATTHEW PLOESSEL had
a conversation in the IRC channel #risciso, with defendant PAUL YAU, and RISCISO
members “qm” and “Max” about how to archive copyrighted materials and to set up new
warez servers for the group.

Ss. On or about January 28, 2005, defendant DAVID LEWIS asked
defendant RICHARD BALTER in the IRC channel #risciso about which of RISCISO’s two
main warez servers was running and accessible. Defendant BALTER responded that the
RM2 server was operational.

t. On or about January 29, 2005, defendant JASON DOBYNS participated
in a conversation in the IRC channel #risciso with fellow RISCISO members and stated that

he thought that the “crack” (software circumvention tool) on the program “ Playboy: The

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Mansion” was “bad” and asked if anyone else in the group had tried the crack for the
program.

u. On or about January 30, 2005, defendant RICHARD BALTER
participated in a conversation in the IRC channel #risciso with another RISCISO member,
“owtmirg” (aka “grimtwo”), in which they discussed the availability of a screener copy (a
copy of movie that is not yet available on DVD) of the movie “Sideways” on one of the
RISCISO servers.

Y. On or about January 30, 2005, defendant TU NGUYEN participated in
a conversation in the IRC channel #risciso during which he made an encrypted query of the
the RM2 server for any items with the word “unlock” in their titles.

w. On or about May 27, 2005, defendant SANDY FURY and fellow
RISCISO member “Raven” discussed in the IRC channel #risciso the status of two of
RISCISO’s warez servers known to the group as RM1 and RM2.

x. On or about May 31, 2005, defendant DAVID LEWIS participated in
a conversation in the IRC channel #risciso with fellow RISCISO members, defendant SEAN
PATRICK O’TOOLE and “b” (aka “ben”), during which the three discussed how the
RISCISO server should be organized and where recently “cracked” (circumvented) software

should be stored on the server.
y. On or about May 31, 2005, defendant MARC BARTEL participated in

a conversation in the IRC channel #risciso with fellow RISCISO members during which he

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tried to find out who had the authority to give him direct access to the RM2 server.
Defendant BARTEL then offered to contribute hard drives to the RM2 server.

Zz. On or about June 5, 2005, defendants SEAN PATRICK O’TOOLE,
LINDA WALDRON, and other RISCISO members, held a group meeting in the IRC channel
#risciso in which they discussed how to increase the number of copyrighted versions of
newly released software made available on RISCISO’s warez server. Defendant SEAN
PATRICK O°’ TOOLE suggested that members should test evaluation or trial copies of “big
money” software programs and figure out how to circumvent their copyright protection to
turn them into full-functioning copies that did not expire after the trial period had concluded.
These fully-functioning versions could then be made available on RISCISO’s warez server.

Equipping the RM2 Server

aa. On or about September 25, 2003, defendant VAHID PAZIRANDEH
caused to be delivered by Federal Express two packages addressed to Garden City, New
York, to the attention of Individual A, containing a computer server and seventeen hard
drives. This hardware was intended to be delivered to the CW so he/she could build the RM2
server.

bb. On or about March 17, 2004, defendant FRED AMAYA caused to be
delivered by the United Parcel Service a package addressed to Garden City, New York, to
the attention of Individual A, containing three hard drives. This hardware was intended to

be delivered to the CW so that he could expand the storage capability of the RM2 server.

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cc, On or about June 29, 2004, defendant FRED AMAYA caused to be
delivered by the United Parcel Service a package addressed to Garden City, New York, to
the attention of Individual A, containing a SATA RAID Controller card. This hardware was
intended to be to be delivered to the CW so that he/she could expand the storage capability
and increase the efficiency of the RM2 server.

All in violation of Title 18, United States Code, Section 371.

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COUNT TWO

The SPECIAL FEBRUARY 2005-1 GRAND JURY further charges:
On or about the dates set forth below, in the Northern District of Illinois, Eastern

Division, and elsewhere,

SEAN PATRICK O’TOOLE,
also known as “chucky,

defendant herein, did willfully infringe the copyrights of copyrighted works, that is, movies,
games, and software, by the reproduction and distribution by electronic means, including via
the Internet, during a 180-day period, of ten or more copies of one or more of the copyrighted

works, which had a retail value of $2,500 or more, including as set forth below:

Date Title of Copyrighted Work
(1) February 14, 2005 “The Phantom of the Opera”
{2) February 24, 2005 “Bridget Jones the Edge of Reason”
(3) January 27, 2005 “American Chopper”
(4) March 27, 2005 “Hostage”
(5) April 19, 2005 “The Pacifier”
(6) January 27, 2005 “Street Racing Syndicate”
(7) January 29, 2005 “Oceans 12”
(8) January 31, 2005 “Ray”
(9) January 19, 2005 “Sharktale”
(10) January 26, 2005 “Alexander”
(1i) January 26, 2005 “Vera Drake”
(12) January 30, 2005 “Flight of the Phoenix”
(13) February 21, 2005 “The Machinist”

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(14) January &, 2005 “Exorcist: The Beginning”
(15) April 21, 2005 “Empire Earth 2”

(16) January 31, 2005 “Half Life 2”

(17) January 26, 2005 “Sideways”

(18) April 27, 2005 Photoshop CS2

(19) April 11, 2005 Autodesk AutoCAD v. 2006
(20) March 26, 2005 “Meet the Fockers”

All in violation of Title 17, United States Code, Section 506(a)(2), and Title 18,

United States Code, Sections 2319(c)(1) and 2.

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COUNT THREE
The SPECIAL FEBRUARY 2005-1 GRAND JURY further charges:
On or about the dates set forth below, in the Northern District of Illinois, Eastern

Division, and elsewhere,

LINDA WALDRON,
also known as “bajantara,”

defendant herein, did willfully infringe the copyrights of copyrighted works, that is, movies
and software, by the reproduction and distribution by electronic means, including via the
Internet, during a 180-day period, of ten or more copies of one or more of the copyrighted

works, which had a retail value of $2,500 or more, including as set forth below:

Date Title of Copyrighted Work
(1) March 23, 2005 Curious Software Worldmaps Version 5.5
(2) April 2, 2005 Autodesk Architectural Desktop v 2006
(3) February 8, 2005 “Ray”
(4) March 7, 2005 Symantec Livestate Recovery Desktop v3
(5) March 7, 2005 Corel Designer Technical Suite v12
(6) March 19, 2005 “The Pacifier”
(7) March 9, 2005 Roxio Toast with Jam v 6
(8) February 7 , 2005 “Coach Carter”
(9) March 6, 2005 Avery Design Pro Version 5
(10) March 07, 2005 Lead Tools Vector Imaging Pro

All in violation of Title 17, United States Code, Section 506(a){2), and Title 18,

United States Code, Sections 2319(c)(1) and 2.

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COUNT FOUR

The SPECIAL FEBRUARY 2005-1 GRAND JURY further charges:
On or about the dates set forth below, in the Northern District of Illinois, Eastern

Division, and elsewhere,

PAUL YAU,
also known as “ann,”

defendant herein, did willfully infringe the copyrights of copyrighted works, that is, movies
and software, by the reproduction and distribution by electronic means, including via the
Internet, during a 180-day period, of ten or more copies of one or more of the copyrighted

works, which had a retail value of $2,500 or more, including as set forth below:

Date Title Of Copyrighted Work
(1) March 18, 2005 Autodesk AutoCAD v, 2006
(2) April 13, 2005 Microsoft Windows Server 2003 Enterprise Edition
(3) March 25, 2005 Corbis Online Interior 1
(4) April 2, 2005 Windows 2003 Datacenter Corporate
(5) March 25, 2005 National Geographic Stories of Cubs DVDR
(6) March 25, 2005 3D Fluff Volume 2 DVDr
(7) March 19, 2005 Audiowhiz Training for CISSP
(8) April 12, 2005 Chaos Systems Topocad v. 7.05 Muitilingual
(9) April 10, 2005 Schlumberger Petrel v. 2004
(10) March 18, 2005 Sony Sound Forge v. 8.0
(i1) April 13, 2005 IBM Lotus Domino Server V, 6.54 Linux

All in violation of Title 17, United States Code, Section 506(a)(2), and Title 18,
United States Code, Sections 2319(c)(1) and 2.

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COUNT FIVE
The SPECIAL FEBRUARY 2005-1 GRAND JURY further charges:
On or about the dates set forth below, in the Northern District of Illinois, Eastern

Division, and elsewhere,

SANDY FURY,
also known as “asylum,”

defendant herein, did willfully infringe the copyrights of copyrighted works, that is, movies
and software, by the reproduction and distribution by electronic means, including via the
Internet, during a 180-day period, of ten or more copies of one or more of the copyrighted

works, which had a retail value of $2,500 or more, including as set forth below:

Date Title of Copyrighted Work
(1) April 18, 2005 Audiowhiz Training for CISSP
(2) April 17, 2005 AutoDesk Mechanical Desktop v. 2006
(3) April 17, 2005 CSI Safe v. 8.04
(4) Apmil 17, 2005 Intel Fortran Compiler v.8.1
(5) April 16, 2005 National Geographic Stories of Cubs DVDR
(6) April 16, 2005 Crystal Reports Professional Edition v.11
{7) April 17, 2005 Intel C Plus plus Compiler v.8.1
(8) March 24, 2005 “The Pacifier”
(9) March 24, 2005 “Robots”
(10) April 17, 2005 Avid Xpress Pro HD v. 5.12

All in violation of Title 17, United States Code, Section 506(a)(2), and Title 18,

United States Code, Sections 2319(c)(1) and 2.

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COUNT SIX
The SPECIAL FEBRUARY 2005-1 GRAND JURY further charges:
On or about the dates set forth below, in the Northern District of Illinois, Eastern

Division, and elsewhere,

MARC BARTEL,
also known as “biosprint,”

defendant herein, did willfully infringe the copyrights of copyrighted works, that is, movies
and software, by the reproduction and distribution by electronic means, including via the
Internet, during a 180-day period, of ten or more copies of one or more of the copyrighted

works, which had a retail value of $2,500 or more, including as set forth below:

Date Title of Copyrighted Work
(1) April 8, 2005 AutoDesk Map 3D v. 2006
(2) April 10, 2005 Ulead DVD Moviefactory v. 4.0
(3) April 9, 2005 Corbis Online Interior 1
(4) April 9, 2005 Panda Platinum Internet Security 2005
(3) April 10, 2005 National Geographic Stories of Cubs DVDR
(6) April 10, 2005 Xoom Movie Clone Gold v. 3.5
(7) April 9, 2005 MSC Superform 2005
(8) April 10, 2005 Rockwell Automation Drive Executive v, 2.02
(9) April 9, 2005 Transmagic v. 2005
(10) April 9, 2005 Avid Xpress Pro HD vy. 5.12
al) April 9, 2005 Changes Beauty Studio

All in violation of Title 17, United States Code, Section 506(a)(2), and Title 18,

United States Code, Sections 2319(c)(1) and 2.

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COUNT SEVEN

The SPECIAL FEBRUARY 2005-1 GRAND JURY further charges:
On or about the dates set forth below, in the Northern District of Illinois, Eastern

Division, and elsewhere,

TU NGUYEN,
also known as “dray,”

defendant herein, did willfully infringe the copyrights of copyrighted works, that is, movies
and software, by the reproduction and distribution by electronic means, including via the
Internet, during a 180-day period, of ten or more copies of one or more of the copyrighted

works, which had a retail value of $2,500 or more, including as set forth below:

Date Title of Copyrighted Werk
(1) December 31, 2004 “Paparazzi”
(2) January 20, 2005 “In Good Company”
(3) January 30, 2005 “Sideways”
(4) January 11, 2005 “Shall We Dance”
(5) January 12, 2005 “Million Dollar Baby”
(6) February 12, 2005 Canopus Let's Edit 2
(7) March 12, 2005 PTC Pro Engineer Wildfire v. 2.0
(8) December 31, 2004 “Cellular”
(9) December 31, 2004 “Friday Night Lights”
(10) February 27, 2005 “After the Sunset”

All in violation of Title 17, United States Code, Section 506(a)(2), and Title 18,

United States Code, Sections 2319(c)(1) and 2.

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COUNT EIGHT
The SPECIAL FEBRUARY 2005-1 GRAND JURY further charges:
On or about the dates set forth below, in the Northern District of Minois, Eastern

Division, and elsewhere,

RICHARD BALTER,
also known as “ducky,”

defendant herein, did willfully infringe the copyrights of copyrighted works, that is, movies,
games, and software, by the reproduction and distribution by electronic means, including via
the Internet, during a 180-day period, of ten or more copies of one or more of the copyrighted

works, which had a retail value of $2,500 or more, including as set forth below:

Date Title of Copyrighted Work
(1) March 12, 2005 DVD Authoring with Sony DVD Architect 2.0
(2) April 9, 2005 Roxio Easy Media Creator v. 7.5
(3) January 19, 2005 “Ostrich Runner”
(4) January 20, 2005 “The Punisher”
(5) January 31, 2005 Adobe Acrobat Professional v. 7
(6) February 1, 2005 “The Playboy Mansion”
(7) February 22, 2005 “NASCAR Simracing”
(8) April 11, 2005 “Saw”
(9) March 12, 2005 DVD Authoring with Sony DVD Architect 2.0
(10) March 10, 2005 Sonic Record Now Deluxe v, 7.3
(11) March 9, 2005 Magix Photostory on CD and DVD 2005

All in violation of Title 17, United States Code, Section 506(a)(2), and Title 18,

United States Code, Sections 2319(c)(1) and 2.

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COUNT NINE
The SPECIAL FEBRUARY 2005-1 GRAND JURY further charges:
On or about the dates set forth below, in the Northern District of Illinois, Eastern

Division, and elsewhere,

DANNY LEE,
also known as “messy,”

defendant herein, did willfully infringe the copyrights of copyrighted works, that is, movies
and software, by the reproduction and distribution by electronic means, including via the
Internet, during a 180-day period, of ten or more copies of one or more of the copyrighted

works, which had a retail value of $2,500 or more, including as set forth below:

Date Title of Copyrighted Work
(1) February 26, 2005 “Spanglish”
(2) February 25, 2005 “Ray”
(3) February 25, 2005 “The Incredibles”
(4) February 25, 2005 “The Notebook”
(5) February 26, 2005 “The Aviator”
(6) April 18, 2005 Symantec Anti-Virus CE v. 10
(7) March 20, 2005 Avid Xpress Pro HD v, 5.04
(8) March 20, 2005 Scansoit Paperport v. 10
(9) March 25, 2005 Ulead DVD Moviefactory v. 4.0
(10) February 27, 2005 “Closer”
(11) February 26, 2005 “Dead Mans Shoes”

All in violation of Title 17, United States Code, Section 506(a)(2), and Title 18,

United States Code, Sections 2319(c)(1) and 2.

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COUNT TEN
The SPECIAL FEBRUARY 2005-1 GRAND JURY further charges:
On or about the dates set forth below, in the Northern District of Illinois, Eastern

Division, and elsewhere,

PETER ANDREW HOLLAND,
also known as “thebinary,”

defendant herein, did willfully infringe the copyrights of copyrighted works, that is, software,
by the reproduction and distribution by electronic means, including via the Internet, during
a 180-day period, of ten or more copies of one or more of the copyrighted works, which had

a retail value of $2,500 or more, including as set forth below:

Date Title of Copyrighted Work
(1) December 31, 2004 Quark Xpress 6.0
(2) January 30, 2005 iLife 2005
(3) April 8, 2005 Windows Server 2003 32Bit Enterprise
(4) December 31, 2004 Mac OS X v. 10.4 Tiger
(5) December 31, 2004 Micromat TechTool Pro 4
(6) January 26, 2005 iWork
(7) February 26, 2005 Adobe Acrobat Professional 7.0
(8) February 8, 2005 Kaplan Higher Score For GMAT 2005
(9) February 12, 2005 VMWare Workstation v. 4.5.2
(10) February 26, 2005 Adobe Acrobat 7 Professional Internal

All in violation of Title 17, United States Code, Section 506(a)(2), and Title 18,

United States Code, Sections 2319(c){1) and 2.

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COUNT ELEVEN
The SPECIAL FEBRUARY 2005-1 GRAND JURY further charges:
On or about the dates set forth below, in the Northern District of Illinois, Eastern

Division, and elsewhere,

JASON DOBYNS,
also known as “‘supafly”

defendant herein, did willfully infringe the copyrights of copyrighted works, that is, movies,
games, and software, by the reproduction and distribution by electronic means, including via
the Internet, during a 1 80-day period, of ten or more copies of one or more of the copyrighted

works, which had a retail value of $2,500 or more, including as set forth below:

Date Title of Copyrighted Work
(1) April 26, 2005 Photoshop CS2
(2) April 17, 2005 Windows XP Professional 64bit
(3) April 21, 2005 Symantec Anti-Virus CE v. 10
(4) December 29, 2004 “Lord of the Rings Battle for Middle Earth”
(5) January 8, 2005 “Half-Life”
{6) January 8, 2005 “National Treasure”
(7) March 21, 2005 AutoDesk AutoCAD Mechanical v. 2006
(8) April 15, 2005 Crystal Reports Professional Edition v. 11
(9) March 21, 2005 Avid Xpress Pro HD v. 5.04
(10) March 21, 2005 Scansoft Paperport v. 10

All in violation of Title 17, United States Code, Section 506(a)(2), and Title 18,

United States Code, Sections 2319(c)(1) and 2,

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COUNT TWELVE

The SPECIAL FEBRUARY 2005-1 GRAND JURY further charges:
On or about the dates set forth below, in the Northern District of Illinois, Eastern
Division, and elsewhere,

DAVID LEWIS (also known as “keymaster”),
MATTHEW CITTELL (also known as “keymaster”’),

defendants herein, did willfully infringe the copyrights of copyrighted works, that is, games
and software, by the reproduction and distribution by electronic means, including via the
Internet, during a 180-day period, of ten or more copies of one or more of the copyrighted

works, which had a retail value of $2,500 or more, including as set forth below:

Date Title of Copyrighted Work
qd) April 11, 2005 Autodesk Map 3D v. 2006
(2) April 11, 2005 Roxio Easy Media Creator v. 7.5
(3) April 12, 2005 Transmagic v. 2005 SP4
(4) October 12, 2004 Microsoft Streets and Trips.2005
(5) October 16, 2004 Ahead Nero Burning Rom v. 6.6 Ultra Edition
(6) October 17, 2004 “Tribes Vengeance”
(7) October 17, 2004 “Tiger Woods PGA Tour 2005”
(8) October 17, 2004 “Tony Hawk’s Underground 2”
(9) October 17, 2004 “WWII Sniper”
(10) March 25, 2005 Autodesk AutoCAD vy. 2006

All in violation of Title 17, United States Code, Section 506(a)(2), and Title 18,

United States Code, Sections 2319(c)(1) and 2.

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COUNT THIRTEEN
The SPECIAL FEBRUARY 2005-1 GRAND JURY further charges:
On or about the dates set forth below, in the Northern District of Illinois, Eastern

Division, and elsewhere,

MATTHEW PLOESSEL,
also known as “kkits” and “stikk”

defendant herein, did willfully infringe the copyrights of copyrighted works, that is, movies
and software, by the reproduction and distribution by electronic means, including via the
Internet, during a 180-day period, of ten or more copies of one or more of the copyrighted

works, which had a retail value of $2,500 or more, including as set forth below:

Date Title of Copyrighted Work
(1) April 3, 2005 “Sideways”
(2) April 25, 2005 VMware P2V Assistant
(3) March 27, 2005 “Elektra”
(4) February 8, 2005 Shade v7.2.1 Professional
(5) January 11, 2005 “The Incredibles”
(6) January 11, 2005 “The Forgotten”
(7) January 11, 2005 “The Cookout”
(8) April 26, 2005 Mac OS v 10.4 Tiger
(9) January 22, 2005 “Chemical Brothers - Out of Control”
(10) January 11, 2005 “Harold and Kumar”

All in violation of Title 17, United States Code, Section 506(a)(2), and Title 18,

United States Code, Sections 2319(c)(1) and 2.

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COUNT FOURTEEN
The SPECIAL FEBRUARY 2005-1 GRAND JURY further charges:
On or about the dates set forth below, in the Northern District of Illinois, Eastern

Division, and elsewhere,

LANCE WARNER,
also known as “transform,”

defendant herein, did willfully infringe the copyrights of copyrighted works, that is, movies
and software, by the reproduction and distribution by electronic means, including via the
Internet, during a 180-day period, of ten or more copies of one or more of the copyrighted

works, which had a retail value of $2,500 or more, including as set forth below:

Date Title of Copyrighted Work
(1) October 18, 2004 CheckPoint VPN-1 SecuRemote/Secure Client
(2) October 18, 2004 Partition Commander
(3) October 22, 2004 McAfee Internet Security Suite
(4) February 21, 2005 iLife 2005
(5) October 17, 2004 “Manchurian Candidate”
(6) October 23, 2004 “Envy”
(7) October 24, 2004 “Collateral”
(8) October 16, 2004 “Farenhype 911”
(9) October 24, 2004 “Fabie”

All in violation of Title 17, United States Code, Section 506(a)(2), and Title 18,

United States Code, Sections 2319(c)(1) and 2.

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COUNT FIFTEEN

The SPECIAL FEBRUARY 2005-1 GRAND JURY further charges:

On or about the dates set forth below, in the Northern District of Illinois, Eastern
Division, and elsewhere,

GREGG PIECYHNA,

defendant herein, did willfully infringe the copyrights of copyrighted works, that is, movies
and software, by the reproduction and distribution by electronic means, including via the
Internet, during a 180-day period, of ten or more copies of one or more of the copyrighted

works, which had a retail value of $2,500 or more, including as set forth below:

Date Title of Copyrighted Work
{l) March 26, 2005 Autodesk Architectural Desktop v. 2006
(2) March 19, 2005 Sony Sound Forge v. 8.0
(3) March 12, 2005 “Finding Neverland”
(4) March 26, 2005 Curious Labs Poser v. 6.0
(5) March 26, 2005 Ulead DVD Moviefactory v. 4.0
(6) April 17, 2005 Windows XP Professional 64bit
(7) March 19, 2005 Sony CD Architect 5.2
(8) March 14, 2005 “Hostage”
(9) March 13, 2005 “The Phantom of the Opera”
(10) April 10, 2005 “Sin City”
(11) April 16, 2005 “Million Dollar Baby”

All in violation of Title 17, United States Code, Section 506(a}(2), and Title 18,

United States Code, Sections 2319(c)(1) and 2.

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FORFEITURE ALLEGATIONS

The SPECIAL FEBRUARY 2005-1 GRAND JURY further charges:

1. The Grand Jury realleges and incorporates here by reference the allegations of
Counts One through Fifteen of this indictment for the purpose of alleging that certain
property is subject to forfeiture pursuant to the provisions of Title 17, United States Code,
Section 506(b), and Title 28, United States Code, Section 2461(c).

2. As a result of their violations of Title 17, United States Code, Section
506(a)(2), and Title 18, United States Code, Section 2319(c)(1), as alleged in Counts One
through Fifteen of this indictment,

SEAN PATRICK O’TOOLE,
also known as “chucky,
VAHID PAZIRANDEH,
also known as “vman,”
LINDA WALDRON,
also known as “bajantara,”
PAUL YAU,
also known as “ann,”
SANDY FURY,
also known as “asylum,”
MARC BARTEL,
also known as “biosprint,”
TU NGUYEN,
also known as “dray,”
RICHARD BALTER,
also known as “ducky,”
DANNY LEE,
also known as “messy,”
PETER ANDREW HOLLAND,
also known as “thebinary,”
JASON DOBYNS,
also known as “supafly”

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DAVID LEWIS,
also known as “keymaster”
MATTHEW CITTELL,
also known as “keymaster”
MATTHEW PLOESSEL,
also known as “kkits” and “stikk,”
JOSEPH TOLAND,
also known as “anim8,”
FRED AMAYA,
also known as “audiovox,”
LANCE WARNER,
also known as “transform,”
GREGG PIECYHNA,
JEREMIAH STEVENS,
also known as ““mort*,

defendants herein, shall forfeit to the United States of America, pursuant to Title 17, United
States Code, Section 506(b) and Title 28, United States Code, Section 2461 (c), any infringing
copies of any copyrighted works and all implements, devices, or equipment used in the
manufacture of such infringing copies.

3. The interests of the defendants subject to forfeiture to the United States
pursuant to Title 17, United States Code, Section 506(b) and Title 28, United States Code,
Section 2461(c), include, but are not limited to any seized personal computers, including hard
disks; seized peripheral connecting cables and equipment; and seized computer disks,
including zip, compact, and floppy disks. The specific items subject to forfeiture include,

but are not limited to, the following:

One CPU, Brand Name ASUS, with Power Cord

Linksys Wireless-g 2.4 GHz S/N CDF70E124768 and Power Supply
Power Mac G4 S/N XB2510XNMXD

Black Full Tower Computer

Generic mid Tower Computer Serial No. 042626235

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6. Dell Poweredge Rack Server 650 S/N 4YKQ341
7. Palm Tungsten PDA with Serial OOVZASA31AYN
8. Palm One 64 MB Memory Expansion Card HB28D064MMZ. JPN A303EL85912
9, San Disk Cruzer Mini 128 MB Memory Card Part 20-90-00107-128 Model SDCZ2-128
10. Dell Inspirion Notebook Computer
11, External Western Digital Hard Drive; Serial No: WMACK1140736
12. Silver Desktop PC w/clear side S/N 031312931
13. Black Rack Server w/hinged door S/N FBUCKS2
14. Dell Poweredge 2650 Rack Server S/N 891QF51
15. Virgin Mobile Phone Card Used in Dish Network Box
16. Canon Powershot $110-Elph Digital Camera, SN 15F215351, and Case
17. Sony Ericsson F500i Mobile Phone, SN CB500WD2W5
18. Palm Tungsten T3 PDA, SN 0OV5A3F414NE and Cradle
19. Zip Disk; Lexar Media 80 MB Compact Flash Card
20. Home built Computer, Black Nikao Case
21. Fujifilm DG4-150m DDS Data Cartridge
22. 2 Hard Drives- IBM Model DDRS-34560 E182115 SN RD139946
23. Lucent Quantum Atlas V TFZXX, SN 143027553781
24. Northwest Airlines/KLM World Perks Card Used in Dish Network Box
25. HP Netserver E60, SN Illegible
26. Home built Computer Tower/Server, Light Grey Case
27. Home built Computer, Enermax Aluminum Case
28. Computer with Power Supply Model #SPI-235HA/W1Z867983
29. Dell Power Edge 1400 SC Computer, Serial #CR9FKO1
30, Computer with Power Supply Model #PW-330ATXE-12V/3892A280
31. Computer with LS Computer Corp Label
32. Computer with SN L6JPCD4120 (FCC ID)
33. Computer with Power Supply, Serial 4700021036
34, IDE Hard Drive S/N: WM609
35. IDE Hard Drive S/N: WM627
36. IDE Hard Drive S/N: N804RF1C
37. IDE Hard Drive S/N: GWF62470
38. IDE Hard Drive S/N: 3CT04QGV
39. IDE Hard Drive S/N: 5EG1HDPE
40. IDE Hard Drive S/N: WM676
41. IDE Hard Drive S/N: 5FGO068YM
42. IDE Hard Drive S/N: F26A1839 (B28)
43. IDE Hard Drive S/N: 9B5001-031 (Model ST9420AG)
44, IDE Hard Drive Model Hd 227-u2 (ATA40608642)
45. Hard Drive, Serial #95200199, with 3.5” Drive
46. Cable Modem, Toshiba PCX 1000, Serial #301456532-71, Mac #00-00-83-33-6A-67
47, HP Compaq Laptop Computer, Model NC4000, S/N CNU414DSXH
48. External DVD-ROM/CD-RW Drive with Power Cable and USB Cable
49. Fujitsu 40gb Laptop Hard Drive, Model MHT2040AH, S/N NP0QT432A67E from HP Compaq
Laptop Computer
50. Fujitsu 40gb Laptop Hard Drive, Model MHT2040A H, S/N NP0QT432A67E from HP
Compaq Laptop Computer Model NC4000, S/N CNU414DSXH

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51. Seagate Hard Drive S/N 1CC12156

52. IO Gear 120 GB USB Hard Drive, SN: 7279250268

53. Homemade CPU(No Serial#)

54. Xbox & Cords Serial# 5444136226055705 14802

55. Apple Ipod

56. HP Laptop Serial# (8) CN30207252

57. Toshiba Cable Modem Model PCX 2200 SN 3209818207

58. PDA “Sharp” SN 27031572

59. Wireless Remote “Linksys” 2.4 GHz SN G3120318089

60. & Port Workgroup Switch “Linksys” MN EZXS88W,2 Adaptors

61. Cell Phone “Sanyo” Sprint MN PM-8200 ESN 04504824300 w/battery and Charger

62. Cell Phone “Samsung” T-Mobile SN R4TX986501Z w/battery

63. Pager “Motorola” AR# AC111804017

64. Security ID “RSA Securid” 805827 on Screen SN 23539366 12/31/2009

65. Seagate Barracuda Hard Drive, ATA SN 7BYO4X7P

66. Maxtor Hard Drive, MD ST060H6 SN T6HIT7KC

67. IBM Deskstar Hard Drive, SN YHF28680

68. Western Digital Hard Drive, WD2500 SN WMAEH2666414

69, Western Digital Hard Drive, WD800 SN WCAM94128762

70. Maxtor Diamondmax Plus Hard Drive, 9 SN Y647RB03

71. Hitachi Travelstar SN on Envelope LAHGWMV8

72. External Hard Drive “Combo” Silver Box Plastic Ends

73. Maxtor Hard Drive, MN 96147U8 SN N&809KF9C

74. IBM Deskstar Hard Drive, SN TXGC0989 “Bad”

75. Maxtor Hard Drive, MN 98196H8 SN V8054A VC

76. Samsung WNR-32100A SN J39G721865 OR002481CG741868

77. Flat Screen Monitor “Deil” SN CN0C0646466334C01H3L

78. Flat Screen Monitor “Dell” SN CN0C06464663348L3RKL

79. Flat Screen Monitor “Sony” Silver SN 4006858

80. CPU White Tower No Brand Name, No Serial Number Drives CD-RW/3.5

81. Server Blk No Brand Name or Serial Number Drives CD/3.5

82. CPU White Tower “Antec Outside” No Serial Number Drives 3.5

83. CPU Black Tower “Lianli” No Serial Number “PC-7B” Drives DVD-R/3.5/3 Drive Bays
w/Digital Temp Controls

84. CPU Black Tower “Lianli” No Serial Number “PC-61” Labeled “Computer 1” Drives DVD-
R/3.5

85. CPU White Tower “(Compaq Presario 4710” SN 6637HXJ2D378 DRIVES CD-R/3.5

86. CPU“Gateway 2000” LP Mini Tower SN 0007992691 Drives CD-R/3.5

87. “Super Server” Black Model 5013C-M SN 5013CM14B01210 Drive 3.5/CD-R

88. Laptop “Sony Notebook” Model PGG-4311 SN 283241303200652

89. Laptop “Dell Inspirion Pp01x” SN 31YZC11 with Mouse and Power Adaptor

90. Laptop “Apple Powerbook G4” Silver 17” Screen, No Serial Number Power Cords with
Keyboard SN KY346117RPA3D

91. Laptop “Toshiba” Model PA1232UXCD SN 027503513 Drives CD-R with Power Cords CD
Burner-TDK Brand

92. Toshiba - Satellite Laptop Computer Serial # 6125817PV and Power Supply Black Mid-tower
(Alien) No Serial #

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93. Western Digital Hard Drive P/N: 99-004085-002
94. Maxtor Hard Drive Serial # A2018XES
95. IBM Hard Drive Serial # E182115
96. Sony Back up Tape. labeled “Danny Backup”
97. External Tape Drive, Model #DP30, S/N E119CZ40208, w/power Cord- on Stream Brand
98. Compaq Presario Laptop S/N ZV07D282MMXX
99. Parallel Card # BSO7292C7U, w/cable
100. Hewlett Packard-Compaq NC 4000 Laptop S/N CNU41405XH
101. Desk Top Computer Identified as “PC Tag Created by MCI”
102. Dell Computer- Poweredge 400(61T0441)
103. Desk Top Computer Identified as “PC Tag Created by MSI”
104. EVO Mini Compag, Serial #6X1A-TYHZ-G010
105. Hewlett Packard Laptop, Serial #CND5 140760
106. HP Compaq Computer (Model: D530c, Product Number: DG767A#ABA, HP Serial Number:
2UA3340CPH)
107. HP Compaq Computer (Model: D530c, Product Number: DG767A#ABA, HP Serial Number:
2UA3340CRN
108. Hard Drive Western Digital WD1200 P/N WD 1200JB-00DUA3 S/N WMACM1336753
109. Genisys Computer Tower from Office
110. Silver Computer Tower Lian Li
111. Deli Laptop Service Code 24065837461 and Power Cord
112. Toshiba Laptop Serial #5122507PU in Computer Desk
113. Server/ No S/N on Computer
114. Personal Computer/ HP Compaq/ 8/N MXL50602C
115. Personal Computer/ Compaq/ S/N 6104FRZB245
116, Personal Computer/ S/N 6849CCKPA729, M 539
117. Laptop Computer/ Toshiba/ S/N 23043915P
118. Laptop Computer/ Toshiba/ S/N 24042052PU
119. Laptop Computer/ Toshiba/ S/N 41214691PU
120. Hard Drive (HP Sure Store Disk 2000LP}
121. Hard Drive (Speedzter 3 Firewire USB 2.0 Hard Disk)
122. Four Maxtor Diamond Max Plus Hard Drives
123. Ion USB 2.0 External HDD
124. Two Xbox Machines
125. Hard Drive S/N 31131858TToshiba
126. CD Generic CPU, White in Color, No Serial or Model Number
127. Cobalt Server RAQ3 Serial #4C03BM0036985
128. VA Linux Server Serial #5X0918003090
129. White Computer Tower with ASUS Label
130. Grey Computer Mid-tower
131. Grey Computer Tower with Antec Label
132. Hard Drive Encloser, Serial #05030010
133, Black DVD Tower
134. Hard Drive, Serial #WT302 045 3834, Western Digital
135. Hard Drive, Serial #WT334 010 0221, Western Digital
136. Hard Drive, Serial #WT268 025 5818, Western Digital
137. Hard Drive, Serial #WT289 110 5456, Western Digital

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138. Hard Drive, Serial #WT289 110 7252, Western Digital
139. Hard Drive, Serial ¥WM609 189 0476, Western Digital
140. Hard Drive, Serial #WMAEI 154 4112, Western Digital
141. Hard Drive, Serial #WM653 092 0830, Western Digital
142. Generic CPU, Blue in Color, Thermaltake Xaser II] Black Shuttle X Computer
143. Dell Precision 330 Computer S/N BVQCRO1

144. Lacie External Hard Drive

145. Maxtor Hard Drive - Model #98196H8, S/N -V80C9RYC
146. Maxtor Hard Drive S/N Y609CBYE

147, Maxtor Hard Drive - Model 98196H8 S/N V80FETOC
148. Cisco Pix 501 Firewall S/N CNS6GRVPAAA

149. Linksys Broadband Router S/N CH500DB19371

150. Toshiba Cable Modem S/N DAZ8801F

151. Toshiba 2.1 GB Hard Drive

152. Tecra 700 Series 3 GB Hard Drive

153. Toshiba 10 GB Hard Drive

154. Seagate Hard Drive S/N LA416534

155. Seagate Hard Drive S/N La220758

156. IBM 4090 MB Hard Drive

157. Palm ¥ PDA with Accessories

158. Tivo Series (2) DVR - 8/N 540-0001-7053-C61a Model Number TCD540140
159. Xbox S/N 405146132105

160. Dell Computer XPS - S/N HC6ZZ441

161. Dell Computer S/N UH3L8

162. Dell Computer S/N OQCCE

163. Sun Microsystems Ultra Computer S/N PR90457118

164. Cisco 7200 Router S/N 72611228

165. Cisco 2500 Router S/N 250903897

166. Dell Optiplex G1 Computer S/N 4V91E

167. Cisco PIX Firewall S/N 18000673

168. Sun Storage D1000 Hd Enclosure

169. Dell Poweredge 2450 S/N HI4FD

170. Dell Poweredge Scalable Disk System 100 S/N U6WG8
171. Dell Poweredge 6650 S/N CT21H31

172, APC Power Supply Smart - UPS 2200 S/N PH03T348187472A50056

All pursuant to Title 17, United States Code, Section 506(b), and Title 28, United
States Code, Section 2461(c).

A TRUE BILL:

FOREPERSON

UNITED STATES ATTORNEY

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